













Opinion issued August 19, 2004







In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00707-CV
____________

IN RE B. JOE THOMSON, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator B. Joe Thomson filed his petition for writ of mandamus on May 12,
2004 and on July 12, 2004, we struck it because (1) relator had not paid the $75 filing
fee and had not established that he was indigent or exempt from paying it and (2) the
certificate of service was inadequate.  We gave relator until July 19, 2004 to file a
conforming petition.  By July 19, 2004, relator had not filed a conforming petition. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we dismiss the proceeding for want of prosecution.
&nbsp;
PER CURIAM
Panel consists of Justices Taft, Alcala, and Bland.


